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The following constitutes the ruling of the court and has the force and effect therein described.



Signed March 5, 2025
                                           United States Bankruptcy Judge
______________________________________________________________________



                                IN THE UNITED STATES BANKRUPTCY COURT
                                  FOR THE NORTHERN DISTRICT OF TEXAS
                                          FORT WORTH DIVISION

     IN RE:                                                     §      CHAPTER 11
                                                                §
     NOC, INC.,                                                 §      CASE NO. 23-40266-elm11
                                                                §
                         Debtor. 1                              §
                                                                §
                                                                §
     DANIEL J. SHERMAN, AS                                      §
     LIQUIDATING TRUSTEE FOR THE                                §
     LIQUIDATING TRUST OF NOC, INC.,                            §
                                                                §      Adv. No. 25-04022 (elm)
                   Plaintiff,                                   §
                                                                §
     v.                                                         §
                                                                §
     STAHMANN FARMS ENTERPRISES,                                §
                                                                §
                Defendant.                                      §

                    ORDER APPROVING STIPULATION EXTENDING RESPONSIVE
                                   PLEADING DEADLINE




     1
         The Debtor’s principal address is 4200 South Hulen Street, Suite 680, Fort Worth, Texas 76109.

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        Before the Court is the Stipulation Extending Responsive Pleading Deadline (the

“Stipulation”) by and between Daniel J. Sherman, in his capacity as the liquidating trustee for the

Liquidating Trust of NOC, Inc., Plaintiff herein, and Stahmann Farms Enterprises, the Defendant

herein (the “Defendant”), filed March 3, 2025. After considering the Stipulation, the Court finds

that the Stipulation extending the deadline for the filing of the Defendant’s answer or responsive

pleading in this adversary proceeding until April 2, 2025, should be and hereby is approved.

        IT IS SO ORDERED.

                                       ### END OF ORDER ###

Order Submitted By:

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